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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

  JUSTIN KOJAK                             2:21−cv−02879−DSF−PVC
                  Plaintiff(s),
                                           STANDING ORDER
          v.                               FOR CASES ASSIGNED TO
  CANOO INC., et al.                       JUDGE DALE S. FISCHER

                 Defendant(s).




          READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE AND
             DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.
       Counsel for plaintiff must immediately serve this order on all parties, including
    any new parties to the action. If this case was removed from state court, the
    defendant that removed the case shall serve this Order on all other parties.
       Plaintiffs who have electronically filed a complaint are ordered to provide a
    paper copy of the conformed complaint to Judge Fischer’s mailbox on the Fourth
    Floor of the First Street Courthouse.

      Counsel must advise the Court immediately if the case or any pending
    matter has been resolved.

       All counsel who appear in this action must immediately review and comply
    with the Civility and Professionalism Guidelines that appear on the Court's
    website under Attorney Information. Failure to do so may result in sanctions.

     1.        Presence of Lead Counsel
        Lead trial counsel must attend any proceeding set by this Court, including
    all scheduling, pretrial, and settlement conferences. Only ONE attorney for a
    party may be designated as lead trial counsel unless otherwise permitted by the
    Court. Counsel should not claim to be co-lead trial counsel for the purpose of


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    of avoiding this requirement. If counsel purport to be co-lead trial couonsel,
    both must attend the pretrial conference. Unless lead trial counsel's absence is
    excused by the Court for good cause in advance of the hearing, or is due to an
    emergency that prevented prior notice, the Court reserves the right to
    designate the attorney handling such proceeding as lead counsel for all
    purposes. Failure of lead couonsel to appear will be grounds for sanctions.
    2.     Discovery
       All discovery matters are referred to the assigned magistrate judge. All
    discovery documents must include the words “DISCOVERY MATTER” in the
    caption to ensure proper routing. Counsel should not deliver Chambers copies of
    these documents to Judge Fischer.
       Proposed protective orders pertaining to discovery must be submitted to the
    assigned magistrate judge. Proposed protective orders should not purport to allow,
    without further order of Judge Fischer, the filing under seal of pleadings or
    documents filed in connection with a dispositive motion (including a class
    certification motion) or trial before Judge Fischer. The existence of a protective
    order does not alone justify the filing of pleadings or other documents under seal, in
    whole or in part.
    3.     Filing Requirements
           a.     Documents with Declarations, Exhibits, and Other Attachments
       If a filed or lodged document has declarations, exhibits, or other attachments,
    each of these must be filed as a separately docketed attachment to the main docket
    entry with a description of the attachment (e.g., Dkt. 29-1 Smith Declaration, 29-2
    Ex.2 - License Agreement, 29-3 Request for Judicial Notice).
           b.     Proposed Orders
       Proposed orders should not contain attorney names, addresses, etc. on the
    caption page, should not contain a footer with the document name or other
    information, and should not contain a watermark or designation of the firm name,
    etc. in the margin. Proposed orders must have Judge Fischer's name spelled
    correctly and her correct title: United States District Judge. Documents that do not
    meet this requirement may be stricken.
           c.    Mandatory Paper Chambers Copies
       Documents will not be considered until paper Chambers copies are
    submitted, so paper Chambers copies of all documents for which priority
    processing is requested should be submitted on the same day as the filing. Paper
    Chambers copies should not require the signature of the recipient.




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       The Court requires paper Chambers copies of only the following: Initial
    pleadings (notices of removal and related documents, complaints, counterclaims,
    cross claims, and answers); Joint Rule 26(f) Reports, motion papers, including
    motions in limine (motions, oppositions, replies, and related documents); ex parte
    applications for temporaray restraining orders; and all pre-trial documents
    (memoranda of fact and law, witness and exhibit lists, pretrial conference statement,
    jury instructions, verdict forms, etc.).
       All exhibits must be separated by a tab divider on the right or bottom of the
    document. If documentary evidence in support of or in opposition to a motion
    exceeds 50 pages, the Chambers copy must be in a separately tabbed binder and
    include a Table of Contents. If such evidence exceeds 200 pages, the Chambers
    copy of such evidence, including a Table of Contents, must be placed in a Slant
    D-Ring binder with each item of evidence separated by a tab divider on the right or
    the bottom. All documents contained in the binder must be three-hole punched with
    the oversized 13/32" hole size, not the standard 9/32" hole size. Failure to comply
    with this requirement may result in the Court striking the motion or declining to
    consider the exhibits.
    4.     Motions - General Requirements
           a.     Time for Filing and Hearing Motions
        This Court hears civil motions on Mondays, beginning at 1:30 p.m. If Monday is
    a court holiday, motions will be heard on the next Monday. If the motion date
    selected is not available, the Court will issue a minute order continuing the date.
     Opposition papers due on a Monday holiday may be filed the following Tuesday.
     In such cases, reply papers may be filed on the next Tuesday.
        Adherence to the timing requirements is mandatory for Chambers’ preparation of
    motion matters. The parties may stipulate to a different briefing schedule, so long
    as the schedule provides at least two weeks between the filing of the reply and the
    hearing date.

       If the parties are able to resolve the issue, or if a party intends to withdraw
    or declines to oppose a motion, the Court must be notified as soon as possible,
    but no later than seven days before the hearing date. Failure to oppose a
    motion will likely result in the motion being granted immediately after the
    opposition would have been due.
           b.     Pre-filing Requirement
       Counsel must comply with Local Rule 7-3, which requires counsel to engage in
    a pre-filing conference “to discuss thoroughly . . . the substance of the contemplated
    motion and any potential resolution.” Counsel should discuss the issues to a
    sufficient degree that if a motion is still necessary, the briefing may be directed to
    those substantive issues requiring resolution by the Court. The pro per status of
    one or more parties does not eliminate this requirement. Failure to comply


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    with this Rule will be grounds for sanctions. If fault is attributed to the moving
    party, the Court may decline to hear the motion.
             c.     Length and Format of Motion Papers
       Memoranda of points and authorities in support of or in opposition to motions
    shall not exceed 25 pages. Replies shall not exceed 12 pages. Only in rare
    instances and for good cause shown will the Court grant an application to extend
    these page limitations.
             d.     Citations to Authority
       Citations to case law must identify not only the case cited, but the specific page
    referenced. When citing to legal databases (which is not encouraged), whenever
    possible cite to Westlaw rather than Lexis.
       Statutory references should cite to the United States Code and not solely a section
    of a particular act. Citations to treatises, manuals, and other materials should
    include the volume, section, and relevant pages. If these are not readily accessible,
    copies should be attached. This is especially important for historical materials, e.g.,
    older legislative history.
       Citations that support a statement in the main text must be included in the main
    text, not in footnotes. String cites are discouraged and generally are not helpful.
    5.       Specific Motion Requirements
             a.     Motions Pursuant to Rule 12
        Motions to dismiss are strongly discouraged. Many motions to dismiss or to
    strike can be avoided if the parties confer in good faith (as required by Local Rule
    7-3), especially for perceived defects in a complaint, answer, or counterclaim that
    could be corrected by amendment. See Chang v. Chen, 80 F.3d 1293, 1296 (9th
    Cir. 1996) (where a motion to dismiss is granted, a district court should provide
    leave to amend unless it is clear that the complaint could not be saved by any
    amendment).

        If the Court grants a motion to dismiss with leave to amend, the plaintiff must
    file an amended complaint within the time period specified by the Court. A
    “redlined” version of the amended complaint must be delivered to Chambers and
    Chambers email indicating all additions and deletions to the prior version of the
    complaint. Failure to file an amended complaint within the time allotted will result
    in dismissal of the action or the relevant claim(s) with prejudice.
             b.     Motions to Amend Pleadings
         The motion must state the effect of the amendment, and must state the page, line


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    numbers and wording of any proposed change or addition of material. A “redlined”
    version of the proposed amended complaint must be delivered to Chambers (in
    paper form) and to Chambers email indicating all additions and deletions to the
    prior version of the pleading. In addition to the requirements of the Local Rules, all
    amended pleadings must be serially numbered to differentiate the amendment from
    previous amendments.
              c.    Motions for Summary Judgment
       Please refer to Judge Fischer’s Standing Order re Motions for Summary
    Judgment at www.cacd.uscourts.gov.
    6.        Telephonic Hearings
      The Court is unlikely to agree to a telephonic appearance in the absence of
    extraordinary circumstances preventing counsel from appearing in person.
    7.        Ex Parte Applications (Including Applications for Temporary
              Restraining Orders)
       In addition to the requirements of Local Rule 7-19, the moving party must notify
    the opposition that opposing papers are to be filed no later than 48 hours (or two
    court days) following such service. The Court generally will not rule on any
    application for such relief for at least 48 hours (or two court days) after the party
    subject to the requested order has been served, unless service is excused. Opposing
    counsel should advise the courtroom deputy clerk as soon as possible whether the
    opposing party intends to oppose the ex parte application. The Court considers ex
    parte applications on the papers and usually does not set these matters for hearing.
     The application will not be considered until a mandatory chambers copy has been
    provided. Sanctions may be imposed for misuse of ex parte applications.

    8.        Applications or Stipulations For Extension of Time
       No stipulation extending the time to file any required document or to continue
    any date is effective until and unless the Court approves it, or unless the Federal
    Rules of Civil Procedure provide for an automatic extension. Both applications and
    stipulations must set forth:
         1.   The existing due date or hearing date, the discovery cut-off date, the last day
              for hearing motions, the pretrial conference date and trial date;
         2.   Specific reasons (contained in a detailed declaration) supporting good cause
              for granting the extension or continuance. (A statement that an extension
              “will promote settlement” is insufficient. The requesting party or parties
              must indicate the status of ongoing settlement negotiations. The possibility
              of settlement ordinarily will not be grounds for continuance.);
         3.   Whether there have been prior requests for extensions, and whether


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              these requests were granted or denied by the Court; and
         4.   A description of the diligence of the party seeking the continuance and any
              prejudice that may result if the continuance is denied.
       The request must be made before the date to be continued. The Court grants
    continuances only on a showing of good cause. Failure to comply with the Local
    Rules and this Order will result in rejection of the request without further notice to
    the parties.
    9.        Cases Removed From State Court
       If a motion was pending in state court before the case was removed, it must be
    re-noticed in accordance with Local Rule 7. If a removed action contains a “form
    pleading” i.e. a pleading in which boxes are checked, the party or parties that filed
    the form pleading must file an appropriate pleading with this Court within 30 days
    of receipt of the notice of removal.
    10.       Class Actions
       If this action is a putative class action, the parties are to act diligently and begin
    discovery immediately, so that the motion for class certification can be filed
    expeditiously. The motion must be filed no later than 120 days from the date
    initially set for the scheduling conference, without regard to any continuances,
    unless the Court orders otherwise.
    11.       Status of Fictitiously Named Defendants
       This Court adheres to the following procedures when a complaint with
    fictitiously named defendants is removed to this Court on diversity grounds. See 28
    U.S.C. §§ 1441(a) and 1447.
         1.   Plaintiff must ascertain the identity of and serve any fictitiously named
              defendants before the date of the Rule 16(b) scheduling conference.
              The Court generally will dismiss Doe defendants on the date of the
              scheduling conference, as they prevent the Court from accurately tracking
              its cases.

         2.   If plaintiff believes (by reason of the necessity for discovery or otherwise)
              that all fictitiously named defendants cannot be identified within that period,
              a request to extend the time must be made in the Joint Rule 26 Report.
              Counsel should be prepared to state the reasons why fictitiously named
              defendants have not been identified and served.
         3.   If a plaintiff wants to substitute a defendant for one of the fictitiously named
              defendants, plaintiff must first seek the consent of counsel for all defendants
              (and counsel for the fictitiously named party, if that party has separate
              counsel). If consent is withheld or denied, plaintiff should file a motion on


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           regular notice. The motion and opposition should address whether the matter
           should thereafter be remanded to the superior court if diversity
           is destroyed by the addition of the newly substituted party. See 28 U.S.C.
           § 1447(c) and (e).
    12.    ERISA Cases Concerning Benefit Claims
       The Court will hear motions to determine the standard of review, whether
    discovery will be permitted, and the scope of the administrative record. There will
    be a court trial (usually confined to oral argument) on the administrative record.
     Counsel are discouraged from filing motions for summary judgment or partial
    summary judgment on any other issue. If they choose to do so, they must
    distinguish Kearney v. Standard Insurance Co., 175 F.3d 1084, 1095 (9th Cir. 1999)
    in the moving papers and explain why summary judgment is not precluded.
    13.    Bankruptcy Appeals
       Counsel must comply with the Notice Regarding Appeal from Bankruptcy Court
    issued at the time the appeal is filed in the district court. The matter is deemed under
    submission on the filing of the appellant's reply brief. The Court considers
    bankruptcy appeals on the papers and usually does not set these matters for hearing.
    14.    Communications with Chambers
       Counsel must not attempt to contact the Court or its Chambers staff by telephone
    or by any other ex parte means unles contact has been first initiated by Chambers
    staff. Counsel may contact the courtroom deputy clerk with appropriate
    inquiries. The preferred method of communications with the courtroom deputy clerk
    is email. To facilitate communication with the courtroom deputy clerk, counsel
    should list their e-mail addresses along with their telephone numbers on all papers.
    15.    Parties Appearing in Propria Persona
      Pro per litigants are required to comply with all local rules, including Local Rule
    16. In this Order, the term “counsel” includes parties appearing in propria persona.
     Only individuals may represent themselves.

    16.    “Notice of Unavailability”
       While the Court expects that counsel will conduct themselves appropriately and
    will not deliberately schedule Court or other proceedings when opposing counsel
    are unavailable, a “Notice of Unavailability” has no force or effect in this Court and
    should not be filed. The filing of such a documents may result in sanctions.
    17.    “Consent to Magistrate Judge

      The parties may consent to have a United States Magistate Judge preside over



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     the entire case, including trial. The parties are free to select from among all
     magistrate judges available for this purpose, not just the magistrate judge assigned
     to this case. Please consult the court's website for the list of available magistrate
     judges.
     CAVEAT: If counsel fail to file the required Joint Rule 26(f) Report, or the
     required pretrial documents, or if counsel fail to appear at the scheduling
     conference, the pretrial conference, or any other proceeding scheduled by the
     Court, and such failure is not satisfactorily explained to the Court: (1) the
     cause will be dismissed for failure to prosecute, if the failure occurs on the part
     of the plaintiff, (2) the answer will be stricken and default (and thereafter
     default judgment) will be entered if such failure occurs on the part of the
     defendant, or (3) the Court may take such action as it deems appropriate.


       IT IS SO ORDERED.




  Date: April 5, 2021
                                                 Dale S. Fischer
                                                 United States District Judge




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